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                     IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                     Plaintiff,

               vs.                           Case No. 12-40043-02-RDR

JOSE LUIS OSORIEO-TORRES

                     Defendant.

                              MEMORANDUM AND ORDER

        This   matter    is   presently    before   the    court    upon    several

pretrial motions filed by the defendant.                  The court has held a

hearing on the motions and is now prepared to rule.

        The defendant was originally charged with co-defendant Javier

Vazquez-Hernandez in a two-count indictment.               Both defendants were

charged with (1) conspiracy to possess with intent to distribute

500 grams or more of methamphetamine in violation of 21 U.S.C. §

846; and (2) possession with intent to distribute 50 grams or more

of methamphetamine in violation of 21 U.S.C. § 841(a)(1). Prior to

the court’s hearing on the pretrial motions, defendant Vazquez-

Hernandez advised the court of his intention to enter a guilty

plea.     The court proceeded to hear and consider the motions filed

by defendant Osorieo-Torres.              Following the hearing, defendant

Vazquez-Hernandez did enter a guilty plea.

        The charges arise out of a search of a residence in Chapman,

Kansas and a traffic stop of a truck in which the defendants were

passengers.          Defendant Osorieo-Torres has filed the following

motions: (1) motion to suppress fruits of his illegal seizure; (2)

motion to suppress fruits of search warrant and for Franks hearing;
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and (3) motion for order to compel.          He also filed a post-hearing

memorandum in support of his motion to suppress.

MOTION TO SUPPRESS FRUITS OF ILLEGAL SEIZURE

     Osorieo-Torres contends that the truck in which he was a

passenger was unlawfully stopped and searched. He asserts that law

enforcement did not have reasonable suspicion or probable cause to

believe that he was committing a crime when the truck was stopped.

He argues that the police did not have reasonable suspicion or

probable cause to suspect him of committing a crime, even though

they had received information from confidential informants, because

(1) the informants did not provide enough information to identify

him; (2) the information from the informants did not match the

observations made by law enforcement; and (3) the informants were

unreliable.

     The   government    has    responded    that    the   totality     of    the

circumstances    indicate      that   law    enforcement       had   reasonable

suspicion and/or probable cause to stop the vehicle in which the

defendant was a passenger.        The government suggests without much

elaboration that the officers had reasonable suspicion and/or

probable cause that the vehicle’s occupants had delivered drugs.

In a subsequent response, the government suggests that Osorieo-

Torres did not have standing to contest a search of the vehicle

because he has not demonstrated a possessory or property interest

in the truck.

     Based upon the evidence presented at the hearing, the court

makes the following findings of fact and conclusions of law.

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Findings of Fact

     On November 21, 2011, Brett Gering, an investigator with the

Dickinson County Sheriff’s Department, received information from

Sgt. Godfrey of the Geary County Drug Enforcement Unit.                      Sgt.

Godfrey had arrested Mr. Glenn Decker for possession of narcotics

and drug paraphernalia. Sgt. Godfrey told Inv. Gering that Mr.

Decker was a prior drug user who had been clean for awhile but had

started using again.     Mr. Decker said he had met a man who went by

the street name of “Cross” in a bar in Junction City, Kansas.                 Mr.

Decker said Cross had indicated that he should give him a call

anytime he needed methamphetamine.          Mr. Decker said he bought

methamphetamine outside Cross’ residence at 2617 Quail Road in

Dickinson County.      He further said that Cross drove a silver

Lincoln Navigator. Sgt. Godfrey told Inv. Gering that he was going

to sign Mr. Decker as a confidential informant.          In December 2011,

Sgt. Godfrey told Inv. Gering that Mr. Decker was not meeting his

obligations.    Sgt. Godfrey advised Inv. Gering that Geary County

would be filing charges against Mr. Decker.                  Inv. Gering was

unaware of why Mr. Decker was not meeting his obligations.

     On November 23, 2011, Sgt. Dan Owsley, a police officer with

the Lenexa Police Department, contacted Lt. Gregg Swanson, a

sheriff’s deputy with Dickinson County Sheriff’s Department, about

information he had received from a confidential informant about the

sale of methamphetamine in Chapman, Kansas.         Chapman is located in

Dickinson County.      This confidential informant, who was later

identified as Lori Haros, had been stopped by law enforcement on

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October 28, 2011 for a traffic violation and methamphetamine had

been discovered in her vehicle.                  After her arrest, she agreed to

cooperate and provide information to law enforcement on October 30,

2011.     She indicated that on October 28th she had traveled to

Chapman with Gomercio Hunner, a Hispanic male, to deliver 7 ounces

of methamphetamine to a woman named “Judy.”                        She said that they

drove to Chapman in a black Ford pickup truck and that the

methamphetamine was hidden in a styrofoam cup in the bed of the

truck.    She further indicated that Judy lived with her father in a

small apartment. She described the location of the apartment. She

also provided a phone number for Judy and said that Judy drove a

black Lincoln Navigator.              She noted that Judy was on parole for

prior drug charges.               Ms. Haros said that methamphetamine was

delivered to Judy every few days.                In providing the information to

Lt.    Swanson,      Sgt.    Owsley    did       not   identify      the     confidential

informant.

       Sgt. Owsley had received additional information on Lori Haros,

both    from   her     and    about    her,      but    he   did     not    provide       this

information to Lt. Swanson.             For example, Ms. Haros had told Sgt.

Owsley that she rode to Chapman in a black Ford truck.                           She later

discovered      that        the    individuals         who    were      delivering         the

methamphetamine to Ms. Beal in Chapman were driving a brown or

green truck, not a black one.            Sgt. Owsley was aware that Ms. Haros

had two prior drug convictions.               He had planned on using Ms. Haros

as an informant but ultimately chose not to do so because Ms. Haros

was unable to come to the police station due to her lack of

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transportation. The charges against her in Johnson County were not

ultimately   dismissed      until    the    search    warrant     was    sought   in

Dickinson County.       Prior to that time, a warrant had been issued

for the arrest of Mr. Haros.

     In December or January 2012, members of the Geary County Drug

Task Force provided additional information that they had gathered

from Mr. Decker.        Mr. Decker indicated that a woman named Judith

Beal was involved in the methamphetamine business.                Mr. Decker had

told them that two Hispanic males from Kansas City, Kansas would

bring methamphetamine to Ms. Beal at 1101 Killarney Circle in

Chapman in a Ford truck, but the model and year were unknown. He

said that the methamphetamine was in a spare tire or something in

the bed of the truck and two Hispanic males would take it inside

the residence.

     At   the    time     Sgt.    Swanson      received     the   aforementioned

information,    he   was    working    on    another      case.     He   began    to

investigate in earnest the information provided by the confidential

informants in January 2012. After a discussion with a local parole

officer, he learned that Judith Beal, who resided in Chapman, was

on parole for a prior conviction in Colorado.                 He found out that

Ms. Beal lived at 2617 Quail Road, Lot 18 in Chapman.                      He also

learned that she lived with her father in Chapman at 1101 Killarney

Circle, an assisted living residence associated with a Chapman

nursing home. He discovered that Ms. Beal listed her occupation as

a health care provider to her father, Burton Lusenhop.                    He later

found out that Ms. Beal’s father owned a silver Lincoln Navigator.

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Finally, he learned that “Cross” was Ms. Beal’s son, Tyler Morgan

Lusenhop.

     On January 23, 2012, Lt. Swanson and Inv. Gering began video

surveillance of 1101 Killarney Circle.          Inv. Gering saw Ms. Beal

come and go from the house several times in a silver Lincoln

Navigator. A Dodge truck and Lincoln Town Car made briefs stops at

the residence. He also observed someone walk to the house, talk to

Ms. Beal, and then leave.

     On January 24, 2012, Inv. Gering saw Ms. Beal and an unknown

male come and go from the house.          An unknown driver of a Lincoln

Town Car also visited briefly.           A few minutes later the Lincoln

Navigator left the residence and was seen with the Lincoln Town Car

at a Casey’s General Store.      Lt. Swanson and Inv. Gering believed

the activity in and out of the residence at 1101 Killarney Circle

was consistent with drug sales.

     On January 25, 2012, Inv. Gering saw a green Ford F150 truck

arrive at the residence.      The truck was registered to Ramon Molina

of Kansas City, Kansas.       Two Hispanic males sat in the truck for

four minutes until the garage door opened. They then entered the

house through a garage door.      The garage door closed behind them.

Twenty-five minutes later, the garage door opened and the driver

retrieved a tool box from the bed of the truck and went back inside

the house.    The garage door closed again.         Thirty minutes later,

the two Hispanic men, an unknown white male, and Ms. Beal exited

the garage.   Ms. Beal hugged the truck passenger.            The driver put

the tool box in the bed of the truck, and the two men left.

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       At 11:28 a.m., Inv. Gering stopped the green Ford truck.

Neither the driver, Vazquez-Hernandez, nor the passenger, Osorieo-

Torres, had a driver’s license.           The occupants were then arrested.

The truck was impounded while a search warrant was sought.

       Ms. Beal left her residence in the Lincoln Navigator at 2:48

p.m.    She was arrested.       Her residence and vehicle were secured

until search warrants could be obtained.

       Search warrants were ultimately obtained for the residence on

Killarney Circle, the Lincoln Navigator, and the Ford truck.                    A

search of the residence found trace amounts of methamphetamine, a

syringe, and “owe sheets.” Nine bags of methamphetamine were found

in the Lincoln Navigator.          A search of the Ford truck revealed

$18,0875 in cash in a cardboard box in the tool box.

       Following his arrest, the defendant was questioned by law

enforcement officers. He did not waive his right to remain silent.

Conclusions of Law

Standing

       The court shall initially consider the arguments of the

government concerning standing to challenge the constitutionality

of the search of the truck.         As noted previously, the government

contends that Osorieo-Torres lacks standing because he failed to

show a possessory or property interest in the truck.

       “Fourth Amendment rights are personal, and, therefore, a

defendant cannot claim a violation of his Fourth Amendment rights

based only on the introduction of evidence procured through an

illegal    search   and   seizure    of    a   third   person’s     property    or

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premises.” United States v. DeLuca, 269 F.3d 1128, 1131 (10th                  Cir.

2001)(quoting United States v. Erwin, 875 F.2d 268, 270 (10th                  Cir.

1989))(internal quotation marks omitted).             During a traffic stop,

a passenger is “seized” for Fourth Amendment purposes and thus has

standing to challenge the validity of the stop at issue.                Brendlin

v. California, 551 U.S. 249, 251 (2007).             However, the passenger’s

right to contest a subsequent search not of his person but the

vehicle remains subject to analysis under Rakas v. Illinois, 439

U.S. 128 (1978).    United States v. Cortez-Galaviz, 495 F.3d 1203,

1206 (10th Cir. 2007).        In Rakas, the Supreme Court held that a

passenger who asserts neither a possessory nor a property interest

in a vehicle “would not normally have legitimate expectation of

privacy” in the vehicle protected by the Fourth Amendment.                Rakas,

439 U.S. at 148-49.     Osorieo-Torres was a passenger in the truck

and does not assert any possessory or property interest in it.

Thus, the government’s argument that he lacks standing to challenge

the vehicle search has merit.       Osorieo-Torres does, however, have

standing to challenge the stop as well as his own detention.

Lawfulness of the Stop of the Truck

     The Fourth Amendment protects individuals from “unreasonable

searches   and   seizures,”      U.S.       Const.    amend.    IV,   including

unreasonable “investigatory stop[s]” or detentions.              United States

v. Simpson, 609 F.3d 1140, 1146 (10th Cir. 2010). In Terry v. Ohio,

the Supreme Court established that a law enforcement officer “may

in appropriate circumstances and in an appropriate manner approach

a person for purposes of investigating possibly criminal behavior

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even though there is no probable cause to arrest.”                   United States

v. Treto–Haro, 287 F.3d 1000, 1004 (10th         Cir. 2002) (quoting Terry

v. Ohio, 392 U.S. 1, 22 (1968)) (internal quotation marks omitted).

An investigatory detention “is justified at its inception if ‘the

specific and articulable facts and rational inferences drawn from

those facts give rise to a reasonable suspicion a person has or is

committing a crime.’” United States v. DeJear, 552 F.3d 1196, 1200

(10th Cir.) (quoting United States v. Werking, 915 F.2d 1404, 1407

(10th Cir. 1990)), cert. denied, 129 S.Ct. 2418 (2009); see also

United States v. Sokolow, 490 U.S. 1, 7 (1989) (“[T]he police can

stop and briefly detain a person for investigative purposes if the

officer has a reasonable suspicion . . . that criminal activity

‘may be afoot,’ even if the officer lacks probable cause.” (quoting

Terry, 392 U.S. at 30)). Although “[r]easonable suspicion requires

the   officer   to   act   on   ‘something    more   than      an     inchoate     and

unparticularized suspicion or hunch,’”          United States v. Hauk, 412

F.3d 1179, 1186 (10th Cir. 2005) (quoting Sokolow, 490 U.S. at 7),

“the level of suspicion required for reasonable suspicion is

‘considerably less' than proof by a preponderance of the evidence

or that required for probable cause.”          United States v. Lopez, 518

F.3d 790, 799 (10th Cir. 2008) (quoting Sokolow, 490 U.S. at 7).

      In determining whether reasonable suspicion exists, the court

looks to the “totality of the circumstances,” rather than assessing

each factor or piece of evidence in isolation.                 United States v.

Salazar, 609 F.3d 1059, 1068 (10th Cir. 2010).                 Additionally, we

“need not rule out the possibility of innocent conduct,”                      United

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States   v.   Arvizu,    534   U.S.   266,   277   (2002),     and   reasonable

suspicion may exist “even if it is more likely than not that the

individual is not involved in any illegality.”                United States v.

Albert, 579 F.3d 1188, 1197 (10th Cir. 2009) (quoting United States

v. Johnson, 364 F.3d 1185, 1194 (10th Cir. 2004))(internal quotation

marks omitted).         “All reasonable suspicion requires is ‘some

minimal level of objective justification.’”            Id.(quoting Sokolow,

490 U.S. at 7).

     Furthermore, when determining if a detention is supported by

reasonable suspicion, we “defer to the ability of a trained law

enforcement officer to distinguish between innocent and suspicious

actions.”     United States v. Zubia–Melendez, 263 F.3d 1155, 1162

(10th Cir. 2001) (internal quotation marks omitted).             We “judge the

officer’s conduct in light of common sense and ordinary human

experience,” United States v. Mendez, 118 F.3d 1426, 1431 (10th Cir.

1997), and “we consider the reasonableness of an officer’s actions

using an ‘objective standard.’”        United States v. Winder, 557 F.3d

1129, 1134 (10th   Cir.) (quoting United States v. Sanchez, 519 F.3d

1208, 1213 (10th Cir. 2008)), cert. denied, 129 S.Ct. 2881 (2009).

The detaining officer’s “‘subjective beliefs and intentions’ are,

quite simply, irrelevant.”       Id. (quoting United States v. DeGasso,

369 F.3d 1139, 1143 (10th Cir. 2004)).               Under this objective

standard, we ask “whether ‘the facts available’ to the detaining

officer, at the time, warranted an officer of ‘reasonable caution’

in believing ‘the action taken was appropriate.’”                    Id.(quoting

Terry, 392 U.S. at 21–22). In making this determination, the court

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must consider the information possessed by law enforcement and its

reliability. See Alabama v. White, 496 U.S. 325, 330 (1990). Both

factors are assessed under the totality of the circumstances.               Id.

When the officer has stopped a person based on reasonable suspicion

of criminal activity, the officer may briefly detain the individual

“in order to determine his identity or to maintain the status quo

momentarily while obtaining more information.”          Adams v. Williams,

407 U.S. 143, 146 (1972).

     The defendant contends that the information provided by the

confidential informants was unreliable and that, therefore, it did

not provide a sufficient basis for the officers to conclude that

reasonable suspicion or probable cause existed.             In determining

whether a confidential source’s information is reliable, the court

can consider the following: (1) whether the identity of the

informant is known to the officers, see United States v. Brown, 496

F.3d 1070, 1074-75 (10th Cir. 2007)(stating that “where informants

are known. . ., a lesser degree of corroboration is required”);

United States v. Jenkins, 313 F.3d 549 , 554 (10th Cir. 2002)(when

the identity of informant is known to officers, he can be held

“responsible if his allegations turned out to be fabricated”); (2)

whether the informant had previously provided information that was

found to be accurate, see United States v. Leos-Quijada, 107 F.3d

786, 792-93 (10th Cir. 1997)(informant was reliable based on law

enforcement officer’s testimony that informant had previously been

a source and had provided accurate information); (3)            whether the

information provided was a first-hand observation by the informant,

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see Jenkins, 313 F.3d at 554-55 (“Another relevant factor is that

the informant claimed to have personally witnessed the defendant’s

drug transactions and provided a detailed description of how those

transactions    were   carried      out.”);   (4)    the   degree       of   detail

provided, id; (5) whether the informant admitted to his/her own

criminal activity, see United States v. Harris, 403 U.S. 573, 583,

(1971)(“Admissions of crime, like admissions against proprietary

interests, carry their own indicia of credibility--sufficient at

least to support a finding of probable cause to search.”); (6)

whether the information came from multiple informants, see United

States v. Mathis, 357 F.3d 1200, 1206 (10th Cir. 2004)(affirming

district court’s finding of probable cause based in part on fact

that “the information provided by the informants was internally

corroborated in several respects”); United States v. Spry, 190 F.3d

829, 836 (7th Cir. 1999)(concluding that the district court’s

finding of probable cause was supported in part by the fact that

“multiple      confidential        informants       provided         corroborating

information”); and (7) whether the informant’s information was

corroborated by an officer’s independent investigation, see United

States v. Danhauer, 229 F.3d 1002, 1006 (10th Cir. 2000)(“When there

is   sufficient    independent       corroboration      of      an    informant’s

information, there is no need to establish the veracity of the

informant.”); Leos-Quijada, 107 F.3d at 793(corroboration by law

enforcement     officer’s     of    certain     details        of    confidential

informant’s tip provides support for conclusion that tip was

reliable).    No one factor is dispositive, however.                Each is simply

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a relevant consideration in the totality of circumstances analysis.

See Illinois v. Gates, 462 U.S. 213, 233 (1983).                  Therefore, a

deficiency in one factor may be compensated for by a strong showing

in another or by some other indication of reliability.                  Id.

      The defendant has focused almost entirely on the fact that

there is little in the record to establish that either of the

informants had previously provided any information that was found

to be truthful.     The defendant has also suggested several other

reasons why the informants should not be deemed reliable: (1) the

information offered by the informants was stale; (2) the informants

offered inconsistent information; and (3) the officers observed

details during the surveillance that were inconsistent with the

information offered by the informants.

      The parties spent considerable time during the hearing trying

to support their position on whether the informants had previously

provided information that was found to be truthful.                 During his

direct examination, Lt. Swanson testified that Sgt. Owsley of the

Lenexa Police Department had told him that Ms. Haros was a reliable

person who had provided reliable information in the past.                 He also

indicated that Sgt. Godfrey of the Geary County Drug Enforcement

Unit had told him that Mr. Decker was a reliable person.                However,

on   cross-examination,       Lt.   Swanson   testified    that    he    did    not

specifically recall if Sgt. Owsley or Sgt. Godfrey had made any

statements concerning the reliability of their informants.                     Inv.

Gering testified that he came to believe that the information

provided by Sgt. Godfrey from Mr. Decker was reliable because of

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his past dealings with Sgt. Godfrey.

     In general, the court agrees with the defendant that there has

been very little showing of the reliability of the informants, at

least based upon their prior use.        There was some evidence offered

of reliability, but no specifics were offered.               In addition, the

testimony that was offered was equivocal on the reliability of the

informants and the knowledge of that reliability.             Thus, the court

does not finds that this factor provides much support for a

determination of the reliability of the informants.              However, the

other factors do provide an indicia of reliability, despite the

defendant’s arguments to the contrary.

     Initially, the court notes these two informants were not

anonymous. They were both known to law enforcement at the time the

information was provided.       This means that both could be held

responsible if their allegations turned out to be fabricated.

Thus, this factor weighs in favor of the reliability of the

informants.

     Moreover, both informants admitted to their own criminal

activity.        Mr.   Decker   admitted      that     he     had    purchased

methamphetamine from Ms. Beal’s son outside Ms. Beal’s residence.

Ms. Haros acknowledged that she had delivered methamphetamine to

Ms. Beal in Chapman for later sale.        The fact that an informant has

made a statement against penal interest enhances credibility.

     The information gained from Ms. Haros contained the basis of

her knowledge.    She had ridden to Ms. Beal’s place in Chapman and

had personally observed the drug sale.          She provided the name of

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the individual who made the trip with her and other details which

suggested reliability.         She displayed first-hand knowledge of the

drug conspiracy.           “A specific, first-hand account of possible

criminal activity is a hallmark of a credible tip.”                    United States

v. Greenburg, 410 F.3d 63, 67 (1st Cir. 2005).                      The information

provided by Mr. Decker does not support a finding of reliability.

The officers appeared to have no knowledge of how Mr. Decker

learned about the transportation of methamphetamine from Kansas

City to Chapman by Hispanic males. The information could have been

second-hand. In addition, the court agrees with the defendant that

the information provided by the informants was somewhat stale. The

court, however, is persuaded that other factors demonstrate the

reliability of the information.

      Next, the court notes that the information provided by Mr.

Decker and Ms. Haros corroborated each other.                  Both provided that

Hispanics     were    bringing      methamphetamine           to     Ms.   Beal      for

distribution. Ms. Haros did indicate that it was one Hispanic male

and   Mr.   Decker    indicated      that     it     was   two      Hispanic     males.

Nevertheless, by telling consistent, yet independent stories, the

informants provide cross-corroboration.                    See United States v.

Schaefer, 87 F.3d 562, 566 (1st Cir. 1996)(“[C]onsistency between

the reports of two independent informants helps to validate both

accounts.”).         The    court   is    not      persuaded        that   the    minor

inconsistencies       in     the    informants’         reports       is   fatal      to

consideration of their information.             See Gates, 462 U.S. at 245 n.

14(“We have never required that informants used by police be

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infallible.”).    Some inaccuracies will not undermine the probative

value of the information as a whole if other indicia of reliability

are present.    Thus, although the officers were unaware of whether

Mr. Decker’s information was first-hand, it was corroborated by

information provided by Ms. Haros.

     Finally,    the     court     considers   the    corroboration        of    the

information provided by the informants by law enforcement. This is

certainly an important aspect of the court’s decision.                    Where an

informant’s tips are concerned, the task turns in large part on

independent     police    work      corroborating     the       details   of     the

informant’s charge.       In some circumstances, it may be enough that

law enforcement officers confirm the tip’s innocent details, for

“seemingly innocent activity [may become] suspicious in light of

the initial tip.”      Gates, 462 U.S. at 243 n. 13.

     The court notes that law enforcement corroborated much of the

information    provided    by     the   informants.       They     were   able    to

corroborate the following: (1) Judy was “Judith Beal;” (2) the

telephone number provided matched that of Judith Beal; (3) Ms. Beal

had a residence at 2617 Quail Road; (4) she also lived with and

helped her father at an assisted living facility at 1101 Killarney

Circle; (6) her father owned a silver Lincoln Navigator that she

drove; (7) Ms. Beal had a prior drug conviction and was on parole;

(7) “Cross” was Ms. Beal’s son, Tyler Lusenhop; (8) drug activity

appeared to be occurring at the assisted living facility; (9) they

observed a Ford truck registered to an owner in Kansas City, Kansas

driven by two Hispanics arrive at 1101 Killarney Circle; (10) they

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saw one of the Hispanics go to back of the truck, retrieve

something, and then enter the house; and (11) they further observed

one of the Hispanic males return something to the back fo the truck

before leaving.

     The officers were able to corroborate several unremarkable

details, some important details, and some predictive behavior. Law

enforcement was not able to corroborate all of the informants’

information.       The defendant has suggested that some of the details

provided    by    the    informants    were     inaccurate,         contradictory     or

contrary to what the officers observed during the surveillance.

Nevertheless, the surveillance produced enough to demonstrate the

reliability of the informants’ information.                         The surveillance

provided corroboration that Ms. Beal was dealing in drugs.                           The

fact that a Ford truck arrived at the Killarney Circle residence

with two Hispanic males in it further substantiated the reports

provided by the informants.            Where an informant’s information has

been “corrobrated in material respects, the entire account may be

credited, including parts without corroboration.” United States v.

Canfield, 212 F.3d 713, 720 (2nd Cir. 2000).                         The information

provided was bolstered by the details provided.                          The details

related    to     the    future   actions     of    third     parties,     which     are

“ordinarily not easily predicted.”                 Id. at 245.        Access to such

information       demonstrates     a   likelihood      that    the     informant     had

obtained the information from personal observation or from the

defendant or from someone he trusted.                Id. at 246.

     In    sum,    the    court   finds,    based     upon    a     totality   of    the

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circumstances, that the officers had reasonable suspicion to stop

the truck in which the defendant was a passenger.                        The court

recognizes that not all of the factors demonstrate reliability of

these informants.       But the court does find that the weight of the

evidence shows sufficient reliability.              Following the stop, the

officers    learned    that   neither    occupant    had   a   valid      driver’s

license.    At this point, the truck could be impounded pursuant to

department policy or held for search based upon a search warrant.

Lawfulness of the Arrest of the Defendant

     The court next turns to the issue of whether there was

probable cause to arrest the defendant.              This is a much closer

question.    “To be reasonable under the Fourth Amendment, an arrest

must be supported by probable cause.”           United States v. Traxler,

477 F.3d 1243, 1246 (10th Cir.), cert. denied, 522 U.S. 909 (2007).

“The. . .standard of probable cause protects citizens from rash and

unreasonable interferences with privacy and from unfounded charges

of crime, while giving fair leeway for enforcing the law in the

community's protection.”        Maryland v. Pringle, 540 U.S. 366, 370

(2003)(internal       quotations   omitted).   Reduced        to   its    essence,

“probable cause is a reasonable ground for belief of guilt.”                   Id.

at 371.     It “exists when under the totality of the circumstances

there is a reasonable probability that a crime is being committed.”

Traxler, 477 F.3d at 1247.

     The problem here in determining whether there was probable

cause to arrest the defendant is that neither informant provided

information related to the defendant.               The informants provided

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information    that    indicated     that     Ms.     Beal     was    selling

methamphetamine from certain locations in Chapman.              They further

provided information that Hispanic males were making deliveries of

methamphetamine to Ms. Beal in Chapman.        The officers were able to

corroborate much of the information provided by the informants.

The totality of the circumstances, as previously noted, provided

reasonable suspicion for the officers to stop the vehicle in which

Vazquez-Hernandez and Osorieo-Torres were occupants.            However, the

court is not persuaded that this evidence provided probable cause

to arrest Osorieo-Torres.      The government provided no additional

evidence that was discovered prior to the arrest.            The government

did eventually discover evidence that would have provided probable

cause for the arrest of the defendant, but they did not have it at

the time that the arrest occurred.         With this decision, the court

must determine if the evidence discovered in the truck must be

suppressed.

Lawfulness of the Suppression of the Evidence in the Truck

     To suppress evidence as the fruit of his unlawful detention,

Ororieo-Torres must make two showings: (1) that the detention did

violate his Fourth Amendment rights; and (2) that there is a

factual nexus between the illegality and the challenged evidence.

DeLuca, 269 F.3d at 1132. Evidence will not be suppressed as fruit

of the poisonous tree unless an unlawful search is at least the

but-for cause of its discovery. Hudson v. Michigan, 547 U.S. 586,

592 (2006).    Even then, causation is often so attenuated that

suppression is not justified.      Id.; Wong Sun v. United States, 371

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U.S. 471, 487–88 (1963).              The but-for relationship has been

described as a “factual nexus between the illegality and the

challenged evidence.”          United States v. Nava–Ramirez, 210 F.3d

1128, 1131 (10th Cir. 2000).          To establish the factual nexus, at a

minimum, “a defendant must adduce evidence at the suppression

hearing showing the evidence sought to be suppressed would not have

come to light but for the government’s unconstitutional conduct.”

Id.

      The court is unable to conclude that the evidence that was

subsequently discovered was the fruit of the illegal detention of

the defendant.     The defendant had to show that the evidence would

never have been discovered but for his, and only his, unlawful

detention. The government need only show that the evidence was not

the fruit of the defendant’s illegal detention.                   Here, the truck

would have been impounded and inventoried or held for a subsequent

search warrant regardless of the defendant’s detention.                     Neither

the driver nor the defendant possessed a valid driver’s license.

The subsequent search would have uncovered the money found in the

cardboard box in the tool box.          Having found a lack of a taint by

the Fourth Amendment violation, the court must deny the defendant’s

motion to suppress.

MOTION TO SUPPRESS FRUITS OF SEARCH WARRANT AND FOR FRANKS HEARING

      In   this   motion,      the   defendant    argues     that   court    should

suppress the evidence seized from the truck because the affidavit

filed in support of the search warrant contained false information,

in violation of Franks v. Delaware, 438 U.S. 154 (1978), without

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which the warrant would never have issued.               The defendant seeks a

Franks hearing to prove his contentions.

     In accordance with the previous discussion, the court finds

that the defendant lacks standing to bring this claim.                    The truck

belonged to Ramon Molina. The defendant, as a passenger, failed to

assert any possessory or property interest in it. As a result, the

defendant failed to demonstrate any expectation of privacy in the

truck.   Accordingly, the court must deny the defendant’s motion in

its entirety.

MOTION TO COMPEL

     The    defendant      seeks   to   have     the   government     produce      the

informants’ files and their criminal histories.                      The defendant

suggests that this information will be helpful in determining the

reliability of the informants.            The government has responded that

this information need not be disclosed because the defendant has

not met the burden under Roviaro v. United States, 353 U.S. 53

(1957)   for    the   production     of    the   requested        materials.       The

government has argued that the defendant has not shown that this

information would contribute meaningfully to his defense because

the informants were not participants or witnesses to the crimes

charged.

     The law regarding the disclosure of information concerning

informants,     including    their      identities,     is   well-settled.         In

Roviaro, the Supreme Court determined that the government has the

privilege to withhold the identity of informants in order to

encourage      “citizens    to     communicate     their     knowledge      of     the

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commission of crimes to law-enforcement officials.”                   Roviaro, 353

U.S. at 59. However, this privilege is not limitless. The Supreme

Court has directed trial courts to balance “the public interest in

protecting the flow of information necessary for effective law

enforcement against the defendant’s right to prepare his defense.”

United   States   v.    Luhan,   530    F.Supp.2d       1224,      1262-63    (D.N.M.

2008)(citing Roviaro, 353 U.S. at 62.).                  Whether disclosure is

warranted depends on several factors, including “the particular

circumstances of each case, taking into consideration the crime

charged, the possible defenses, [and] the possible significance of

the informer's testimony.”        Id.

     In practice, the Tenth Circuit has not required disclosure

“where the information sought ‘would be merely cumulative,’ or

where the informer did not participate in the illegal transaction,”

United States v. Mendoza–Salgado, 964 F.2d 993, 1001 (10th Cir.

1992)(quoting United States v. Scafe, 822 F.2d 928, 933 (10th                      Cir.

1987))(other citations omitted), where the informant is not a

participant or witness to the crime, United States v. Brantley, 986

F.2d 379, 383 (10th Cir. 1993), or where the informant is a mere

tipster, United States v. Wynne, 993 F.2d 760, 766 (10th Cir. 1993).

     Here, the informants were not participants or witnesses to the

crime.     Rather,      they     were     mere      tipsters.         Under    these

circumstances,    the    court    finds      it    unnecessary      to   order     the

disclosure of any information concerning the informants.

     IT IS THEREFORE ORDERED that defendant’s motion to suppress

the fruits of illegal seizure (Doc. # 31) be hereby denied.

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     IT IS FURTHER ORDERED that defendant’s motion to suppress

fruits of search warrant and motion for Franks hearing (Doc. # 33)

be hereby denied.

     IT IS FURTHER ORDERED that defendant’s motion to compel (Doc.

# 35) be hereby denied.

     IT IS SO ORDERED.

     Dated this 13th day of November, 2012 at Topeka, Kansas.


                             S/Richard D. Rogers
                             UNITED STATES DISTRICT JUDGE




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